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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TOMAS RIVERA                               :    CIVIL ACTION
                                           :
                                           :
       v.                                  :
                                           :
DIVERSIFIED MACHINE                        :      NO. 19-486
SYSTEMS, INC.                              :

                                   SCHEDULING ORDER

       NOW, this 9th day of April, 2019, following a preliminary pretrial conference, it is

ORDERED as follows:

       1.       All fact discovery on the issue of successor liability shall be completed no

later than July 12, 2019.

       2.       Cross-motions for summary judgment on the issue of successor liability

shall be filed no later than August 9, 2019. Responses shall be filed no later than August

23, 2019. Cross-motions for summary judgment and responses shall be filed in the form

prescribed in Judge Savage’s Scheduling and Motion Policies and Procedures,

specifically:

                (a)     The movant shall file a Statement of Undisputed Facts which sets

forth, in numbered paragraphs, each material fact which the movant contends is

undisputed;

                (b)     The respondent shall file a separate Statement of Disputed Facts,

responding to each numbered paragraph set forth in the Statement of Undisputed Facts,

which the respondent contends presents a genuine disputed issue. The respondent shall

also set forth, in separate numbered paragraphs, each additional fact which the

respondent contends precludes summary judgment;
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             (c)    All material facts set forth in the Statement of Undisputed Facts

served by the movant shall be deemed undisputed unless specifically controverted by the

opposing party;

             (d)    Statements of material facts in support of or in opposition to a motion

for summary judgment shall include specific and not general references to the parts of

the record which support each statement. Each stated fact shall cite the source relied

upon, including the title, page and line of the document supporting each statement.




                                                /s/ Timothy J. Savage
                                                TIMOTHY J. SAVAGE, J.




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